Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 1 of 19




   Exhibit 41
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 2 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 3 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 4 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 5 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 6 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 7 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 8 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 9 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 10 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 11 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 12 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 13 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 14 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 15 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 16 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 17 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 18 of 19
Case 5:18-cr-00258-EJD Document 585 Filed 11/20/20 Page 19 of 19
